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            Exhibit 6
   to Mao Declaration ISO
Plaintiffs’ Motion for Leave to
      Amend Complaint

    Public Redacted Version
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